                                                        Case 2:23-cv-06188-JMW                                                                                                                                                                                Document 11-14          Filed 08/20/23      Page 1 of 4 PageID #: 370


Emanuel Kataev

From:                                                                                                                                                                                                                                      Bennetta, Joe <Joe.Bennetta@nissan-usa.com>
Sent:                                                                                                                                                                                                                                      Tuesday, August 01, 2023 4:08 PM
To:                                                                                                                                                                                                                                        Bruce Novicky
Subject:                                                                                                                                                                                                                                   RE: 8085 Superb Motors, Inc. - Potential Double Floorings 7.31.2023 ** 22 units**


Fantastic thank you so much Bruce! I appreciate your help!

Joe Bennetta | Financial Services Manager | Northeast Region | Nissan Motor Acceptance Company |
Infiniti Financial Services | Mobile: +1 609-495-4834

From: Bruce Novicky <bruce@teamauto.com>
Sent: Tuesday, August 1, 2023 3:39 PM
To: Bennetta, Joe <Joe.Bennetta@nissan‐usa.com>
Subject: Re: 8085 Superb Motors, Inc. ‐ Potential Double Floorings 7.31.2023 ** 22 units**
Hi Joe, Sorry for the delay see the batch below. We are having logistical issues when wholesaling cars and there seems to be a disconnect with the office at Superb. For the time being I removed all users access to floor except myself to prevent




Hi Joe,

Sorry for the delay see the batch below.

We are having logistical issues when wholesaling cars and there seems to be a disconnect with the office at Superb.

For the time being I removed all users access to floor except myself to prevent any issues going forward. I will look more
into it the next time I am there and I will make sure we have a similar process implemented to the other stores who do
not have this problem.

Until I am confident it is resolved and everyone fully understands I will be the only user able to floor on this line.

We are also going to reduce the inventory at the store dramatically overall (at least another $1m on top of this payoff)
after speaking with Tony today.




                                                                                                                                                                                                                                                                                  1
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Regards,


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                    Bruce Novicky
                    COO | Team Auto Group
                    Office 860.900.0660
                    Email bruce@teamauto.com
_____________________________
IMPORTANT: The contents of this email and any attachments are confidential. They are intended for the named recipient(s) only. If
you have received this email by mistake, please notify the sender immediately and do not disclose the contents to anyone or make
copies thereof.



From: Bennetta, Joe <Joe.Bennetta@nissan‐usa.com>
Sent: Monday, July 31, 2023 3:38 PM
To: Bruce Novicky <bruce@teamauto.com>; Bruce Novicky <bruce@teamauto.com>
Subject: FW: 8085 Superb Motors, Inc. ‐ Potential Double Floorings 7.31.2023 ** 22 units**

Hi Bruce. Can you have these looked into ASAP

Joe Bennetta | Financial Services Manager | Northeast Region | Nissan Motor Acceptance Company |
Infiniti Financial Services | Mobile: +1 609-495-4834


From: Lozon, Nancy <Nancy.Lozon@Nissan‐Usa.com>
Sent: Monday, July 31, 2023 3:13 PM
To: Bennetta, Joe <Joe.Bennetta@nissan‐usa.com>
Cc: Eirich, John <eirichj@NMAC.COM>; Gilroy, Tim <gilroyt@NMAC.COM>; Beck, Jamie <Jamie.Beck@nissan‐usa.com>;
Jank, Allison <Allison.Jank@nissan‐usa.com>; Broussard, Keeth <BroussK@NMAC.COM>
Subject: 8085 Superb Motors, Inc. ‐ Potential Double Floorings 7.31.2023 ** 22 units**
Importance: High


Hello,

Below are the 22 units showing for 8085 Superb Motors, Inc. from today’s double floored report.

The NMAC floor date has been added for your reference.

If they were the sellers, please have them pay NMAC off. If they are the buyers, please verify they have the titles or
expect them in a day or two
If they do not have the titles and do not know when they will get them, please have them remove them from their floor
plan until they receive the titles.

Thank you

 Floored Dealer #       Floored Dealer Name         Floored (Y/N)       NMAC Floor Date         VIN                         Year     Man
 8085                   SUPERB MOTORS INC.          Y                   7/19/2023               5UXKR0C53J0X91503              2018  BMW
 8085                   SUPERB MOTORS INC.          Y                   7/21/2023               5UXTY9C06LLE59513              2020  BMW
 8085                   SUPERB MOTORS INC.          Y                   4/24/2023               2T2ZZMCA6HC073637              2017  LEXU
                                                                                                                                     MER
 8085                   SUPERB MOTORS INC.          Y                   7/5/2023                WDDJK7DA4JF052861               2018 BENZ
                                                                                                                                     MER
 8085                   SUPERB MOTORS INC.          Y                   4/19/2023               WDDSJ4GB7JN508433               2018 BENZ

                                                                 3
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 8085                    SUPERB MOTORS INC.   Y               7/5/2023         SALGS2RE3KA519794         2019 LAND
 8085                    SUPERB MOTORS INC.   Y               6/2/2023         WBAJB1C53KB375171         2019 BMW

 8085                    SUPERB MOTORS INC.   Y               7/5/2023         ZAM57YTLXK1316469         2019   MAS
 8085                    SUPERB MOTORS INC.   Y               5/3/2023         WAUDNAF46KN011574         2019   AUD
 8085                    SUPERB MOTORS INC.   Y               5/17/2023        WBXHT3C35J5K24129         2018   BMW
 8085                    SUPERB MOTORS INC.   Y               7/21/2023        WAUB4CF56JA083170         2018   AUD
 8085                    SUPERB MOTORS INC.   Y               7/21/2023        SALYA2EX8KA791014         2019   LAND
 8085                    SUPERB MOTORS INC.   Y               7/19/2023        WBA2H9C36HV986948         2017   BMW
 8085                    SUPERB MOTORS INC.   Y               7/21/2023        5UXUJ5C54K9A32646         2019   BMW
 8085                    SUPERB MOTORS INC.   Y               7/19/2023        WBA4E5C59HG188797         2017   BMW
 8085                    SUPERB MOTORS INC.   Y               4/3/2023         WA1LHAF74KD039390         2019   AUD
 8085                    SUPERB MOTORS INC.   Y               7/21/2023        WAUP4AF5XJA095252         2018   AUD
                                                                                                                MER
 8085                    SUPERB MOTORS INC.   Y               2/27/2023        55SWF4KB7JU273873         2018   BENZ
 8085                    SUPERB MOTORS INC.   Y               7/11/2023        1C4RJFCG8KC788432         2019   JEEP
 8085                    SUPERB MOTORS INC.   Y               3/2/2023         WA1C4AFY9L2045025         2020   AUD
 8085                    SUPERB MOTORS INC.   Y               7/19/2023        ZAM57YTA4K1314330         2019   MAS
 8085                    SUPERB MOTORS INC.   Y               7/21/2023        WP0AF2A74GL082172         2016   PORS


Sincerely,

Nancy Lozon
Dealer Workout Analyst
Special Credit

Nissan Group of North America
Mobile: +682‐261‐4960
Fax: +1‐972‐607‐7278

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